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  January 17, 2018

  VIA ECF
  The Honorable Claire C. Cecchi, U.S.D.J.
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, New Jersey 07101

                        Re:      D'Antonio v. Borough of Allendale, et al.
                                 Civil Action No.: 2:16-cv-816 (CCC)(JBC)

  Dear Judge Cecchi:

         This office represents the Defendant, Bergen County Sheriff's Department (“BCSD”), in
  the above-captioned matter.

          On January 16, 2018, counsel for Plaintiff submitted a letter to Your Honor “in response
  to” the BCSD’s reply brief in support its motion to dismiss. (Dkt #196) Counsel’s letter is a sur-
  reply. I write to object to same.

          Local Rule 7.1(d)(6) provides that “[n]o sur-replies are permitted without permission of
  the Judge or Magistrate Judge to whom the case is assigned.” “A court may strike a party's sur-
  reply if filed without permission from the court.” In re Ford Motor Co. E-350 Van Prods. Liab.
  Litig., Civil Action No. 03-4558 (GEB), 2010 U.S. Dist. LEXIS 68241, at *85 (D.N.J. July 9,
  2010).

         Inasmuch as permission to file the sur-reply was not sought in advance, counsel’s letter is
  improper and should be stricken. If the Court requires a formal motion to strike, please advise so
  an application can be filed.

                                                                     Respectfully submitted,
                                                                     s/Leonard E. Seaman
                                                                     LEONARD SEAMAN
  Cc:        All counsel (via ECF)
             Client (via e-mail)
